                     UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

SCOTT and RHONDA BURNETT,                     )
RYAN HENDRICKSON,                             )
JEROD BREIT, SCOTT TRUPIANO,                  )
JEREMY KEEL, FRANCES HARVEY, and              )
HOLLEE ELLIS, on behalf of themselves and     )
all others similarly situated,                )
                                              )
              Plaintiffs,                     )
                                              )
vs.                                           )
                                              )     Case No. 19-CV-332-SRB
NATIONAL ASSOCIATION OF                       )
REALTORS, REALOGY HOLDINGS                    )
CORP., HOMESERVICES OF AMERICA,               )
INC., BHH AFFILIATES, LLC, HSF                )
AFFILIATES, LLC, RE/MAX LLC, and              )
KELLER WILLIAMS REALTY, INC.,                 )
                                              )
                                              )
              Defendants.                     )


                    DEFENDANT KELLER WILLIAMS REALTY, INC.’S
                        MOTION FOR SUMMARY JUDGMENT

       Defendant Keller Williams Realty, Inc. (“KWRI”) hereby respectfully moves the Court for

an Order granting summary judgment in favor of KWRI on all of Plaintiffs’ claims. KWRI’s

Suggestions in Support of this Motion are filed contemporaneously herewith.


Dated: August 29, 2022                             Respectfully submitted:


                                                  Counsel for Keller Williams Realty, Inc.

                                                  /s/ David R. Buchanan
                                                  David R. Buchanan
                                                  dbuchanan@bjpc.com
                                                  BROWN & JAMES, PC-KCMO
                                                  2345 Grand Boulevard


                                    1
        Case 4:19-cv-00332-SRB Document 917 Filed 08/29/22 Page 1 of 3
                                 Suite 2100
                                 Kansas City, MO 64108
                                 (816) 472-0800

                                 Timothy Ray, pro hac vice
                                 timothy.ray@hklaw.com
                                 HOLLAND & KNIGHT LLP
                                 150 North Riverside Plaza, Suite 2700
                                 Chicago, IL 60606
                                 (312) 263-3600

                                 David C. Kully, pro hac vice
                                 david.kully@hklaw.com
                                 Anna P. Hayes, pro hac vice
                                 anna.hayes@hklaw.com
                                 HOLLAND & KNIGHT LLP
                                 800 17th Street NW, Suite 1100
                                 Washington, DC 20530
                                 (202) 469-5415

                                 Jennifer Lada, pro hac vice
                                 jennifer.lada@hklaw.com
                                 HOLLAND & KNIGHT LLP
                                 31 West 52nd Street, 12th Floor
                                 New York, NY 10019
                                 (212) 513-3513

                                 Dina W. McKenney, pro hac vice
                                 dina.mckenney@hklaw.com
                                 HOLLAND & KNIGHT LLP
                                 1722 Routh Street, Suite 1500
                                 Dallas, Texas 75201
                                 214-969-1757




                            2
Case 4:19-cv-00332-SRB Document 917 Filed 08/29/22 Page 2 of 3
                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 29, 2022, a copy of the foregoing document was

electronically filed through the ECF system and will be sent electronically to all persons identified

on the Notice of Electronic Filing.

                                              /s/ David R. Buchanan




                                     3
         Case 4:19-cv-00332-SRB Document 917 Filed 08/29/22 Page 3 of 3
